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                                            UNITED STATES DISTRICT COURT
                                             DISTRICT OF MASSACHUSETTS


CASE NO.      CA00-12455


Michelle Kosilek                                           Kathleen Dennehy
       PLAINTIFF                                                  DEFENDANT

Fran Cohen                                                 Richard McFarland
Joseph Sulman                                              Joan Kennedy



   COUNSEL FOR PLAINTIFF                                COUNSEL FOR DEFENDANT


JUDGE       Wolf                  CLERK       O’Leary               REPORTER Romanow

                                                        CLERK'S NOTES


 DATES:         Bench Trial -Day 24
 12/19/06       Dr. Stephen Levine called by the defendant - witness takes the stand and is sworn. Dr. Levine is on the stand
                for the entire day. Court excuses the witness. Court takes up other matters with counsel. Court asks the
                parties if they would like to provide additional evidence. Plaintiff requests additional time to reflect on the
                request after she gets the transcripts from today’s trial testimony. Court gives the parties until 1/5/2007
                to confer and report whether they are requesting an opportunity to present additional evidence and if so, what.
                If not then the parties shall also provide a schedule for supplementing their proposed findings of fact and
                conclusions of law. If further testimony is going to be taken then it will occur on 1/11/07. Court sees counsel
                in the lobby.
